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             EXHIBIT 2
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From:                                                                                                                                                                  Shiff, Wendy <wshiff@oag.state.md.us>
Sent:                                                                                                                                                                  Thursday, January 28, 2021 11:25 AM
To:                                                                                                                                                                    Avi Kamionski; nick
Cc:                                                                                                                                                                    Yasmin Dagne; Amato, Natalie (BPD); Anisha Queen
Subject:                                                                                                                                                               Lauren Lipscomb's deposition in Estate of Bryant



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Gentlemen—
On Tuesday I sent you an email seeking your agreement that the deposition of Lauren Lipscomb would be 3.5 hours and
that we could start at 9:00 a.m. and be finished by 1:00 p.m. with two fifteen minute breaks. We could also start at
9:30 a.m. and be finished by 1:30 p.m. with two fifteen minute breaks. I have not had a response.
Please let me know your thoughts today so that I can file any necessary paperwork tomorrow (might necessitate a
postponement of the deposition).
Appreciate your courtesy.
Thanks,
Wendy


                                                                                                                                                                       Wendy L. Shiff
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       Office of the A ttorney General




                                                                                                                                                                       Assistant Attorney General
                                                                                                                                                                       Office of the Attorney General
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                                                                                                                                                                       Baltimore, Maryland 21202
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